Case 1:15-cV-O4614-A|\/|D-S.]B Document 59 Filed 12/01/17 Page 1 of 10 Page|D #: 441

December l, 2017

The Honorable Sanket Bulsara
United States District Court

For the Eastern District of New York
225 Cadman Plaza East,

Brooklyn, NY 11201

Re: Eric Sorenson v. Sandra Simpson, 15-cv-46l4 (AMD) (SMG)

Dear Judge Bulsara:

This letter is in response to a letter motion by pro se defendant Sandra Simpson asking
for an adjournment of Your Honor’s instruction that, if Ms. Simpson wishes to make a summary
judgment motion, she must begin the process by December 5, 2017. The motion also seeks to
compel the production of certain documents responsive to defendant’s document requests.

First, I would like to point out that this case was filed on July 30, 2015. Since that time,
Ms. Simpson hired and discharged two attomeys. She filed an appeal of Judge Donnelly’s
decision on a motion to dismiss and then withdrew the filing. Ms. Simpson has refused to make
any settlement offer whatsoever (despite long sessions with you and another magistrate) and is
now refusing to choose a mediator so that the mediation you ordered might go forward. In her
letter motion, Ms. Simpson belatedly asks for literally thousands of documents, which have no
relevance to the issues in the case long after discovery has closed. For all of these reasons,
plaintiff Eric Sorenson opposes an adjournment of more than five days to begin the summary
judgment process, which Ms. Simpson says she wishes to pursue.

Alternatively, plaintiff respectfully asks the Court to schedule a non-jury trial of this
very straightforward action as soon as possible. This case involves a claim for attorney’s fees
over a nine-year period, during which plaintiff Sorenson represented defendant Simpson in
Federal Court. This representation is not disputed and is, in fact, evidenced by the public docket
of the Federal District and Appellate Courts in Washington, D.C. (Exhibit attached). Further,
Defendant does not dispute that that she did not fire Mr. Sorenson until six years before the
Complaint was served. Trial of this case would take no longer than two or three hours, involve
no more than two or three witnesses, and might be accomplished on direct testimony by
affidavit. This would take considerably less judicial resources than cross motions for summary
judgment Plaintiff is also concerned about diminution of assets available to pay a judgment

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On the merits of Ms. Simpson’s discovery request, the request is not proportional to the
needs of the case considering the following: l) the marginal importance of the material to the
claims and defenses in this case; and 2) the substantial cost of time and money to produce the
thousands of e-mails between the parties (which Ms. Simpson already has' or could easily
obtain). As to her request for emails between plaintiff and his brother, these documents have no
possible relevance to the issues to be tried. In fact, Ms. Simpson has offered no cogent theory of
the case Which might support her request.

For the foregoing reasons, plaintiff respectfully asks the Court to deny Ms. Simpson’s
motion and to proceed to trial as soon as possible.
Yours truly,

/S/

 

Lorna B. Goodman

Law Office of Lorna B. Goodman
551 Madison Avenue

New York, NY 10022
212-223-7400

glornab@gmail.com

Attorney for Plaintiff Eric Sorenson

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APPEAL,CLOSED,TYPE-F

U.S. District Court
District of Columbia (Washington, DC)
CIVIL DOCKET FOR CASE #: 1:00-cv-01722-RMU

SIMPSON v. SOCIALIST PEOPLES Date Filed: 07/21/2000
Assigned to: Judge Ricardo M. Urbina Date Terminated: 11/19/2008
Demand: $30,000,000 Jury Demand: None

Case in other court: USCA, 05-07048 Nature of Suit: 360 P.I.: Other
Cause: 28: 1331 Federal Question: Other Civil Rights JllriSdiCtiOnl F€d€ral QuCStiOn
Plaintiff

SANDRA JEAN SIMPSON represented by Eric Christopher Sorenson
Personal Representativesfw the Estate 52 East 2nd Street

of Dr. Mostafa Fahmy Karim, deceased Brooklyn, NY 11218

(718) 871-3661
Email: ericsorensonesq@gmail.com

LEAD A TTORNEY
ATTORNEY TO BE NOTICED
Plaintiff
ALEXANDER J. SIMPSON represented by Eric Christopher Sorenson
TERMINA TED.' 01/24/2008 (See above for address)
ATTORNEY TO BE NOTICED
V.
Defendant
SOCIALIST PEOPLE'S LIBYAN represented by Arman Dabiri Abkenari
ARAB JAMAHIRIYA LAW OFFICES OF ARMAN DABIRI

& ASSOCIATES, P.L.L.C.
1725 l Street, NW

Suite 300

Washington, DC 20006
(202) 349-3 893

Fax: (202) 349-3895

Email: armandab@att.net
TERMINA TED.' 04/0 7/2008
LEAD A TTORNEY

Christopher M. Curran
WHITE & CASE LLP
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Washington, DC 20005
(202) 626-3643

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TERMINA TED.' 1 0/1 1/200]

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ATTORNEY TO BE NOTICED

 

Date Filed

Docket Text

 

07/21/2000

|>-‘

CoMPLAINT med by plaintiff sANDRA JEAN sIMPsoN (bm) @pb).
(Entered: 07/24/2000)

 

07/21/2000

SUMMONS (1) issued for defendant SOCIALIST PEOPLES (bm) (Entered:
07/24/2000)

 

11/09/2000

RETURN OF SERVICE/AFFIDAVIT of summons and complaint unexecuted
as to defendant SOCIALIST PEOPLES (tb) (Entered: 11/14/2000)

 

11/14/2000

 

 

 

REQUEST by plaintiff SANDRA JEAN SIMPSON for the Clerk to perfect
service of summons, complaint, amended complaint and notice of suit together
with translation of each by registered mail, via the Department of State, upon
Abdel Rahman Mohammed Shalgam, Foreign Minister, Tripoli, Libya,
pursuant to 28 U.S.C. 1608(a)(4) (tb) (Entered: 11/14/2000)

 

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03/27/2001

RETURN OF SERVICE/AFFIDAVIT of summons and complaint executed on
1/25/01 upon defendant SOCIALIST PEOPLES (td) (Entered: 03/29/2001)

 

03/27/2001

AFFIDAVIT in support of default by plaintiff SANDRA JEAN SIMPSON;
attachment (1) (td) Modified on 03/29/2001 (Entered: 03/29/2001)

 

03/27/2001

MOTION filed by plaintiff SANDRA JEAN SIMPSON for entry of default as
to SOCIALIST PEOPLES (td) (Entered: 03/29/2001)

 

03/27/2001

MOTION filed by plaintiff SANDRA JEAN SIMPSON for default judgment
against SOCIALIST PEOPLES (td) (Entered: 03/30/2001)

 

03/27/2001

MOTION filed by plaintiff SANDRA JEAN SIMPSON for hearing on default
judgment (td) (Entered: 03/30/2001)

 

03/29/2001

DEFAULT vs. defendant SOCIALIST PEOPLES By Clerk (N) (td) (Entered:
03/29/2001)

 

04/05/2001

RETURN OF SERVICE/AFFIDAVIT of summons and complaint executed on
1/22/01 upon defendant SOCIALIST PEOPLES (td) (Entered: 04/18/2001)

 

04/24/2001

ORDER by Judge Ricardo M. Urbina : granting motion for hearing on default
judgment [9-1] by SANDRA JEAN SIMPSON scheduling default judgment
hearing for 10:30 11/13/01 ; (N) (jwd) (Entered: 04/24/2001)

 

05/02/2001

13

RETURN OF SERVICE/AFFIDAVIT of summons and complaint executed on
4/24/01 upon defendant SOCIALIST PEOPLES (td) (Entered: 05/08/2001)

 

05/04/2001

12

MOTION filed by defendant SOCIALIST PEOPLES to reopen , and to extend
time to 5/31/01 to answer complaint [1-1] (aet) (Entered: 05/07/2001)

 

05/09/2001

14

ERRATA by Kief J ames Sorenson notice of filing of minor amendment to the
transmittal list regarding affidavit of service via DHL. (td) (Entered:
05/15/2001)

 

05/18/2001

15

RESPONSE by plaintiff SANDRA JEAN SIMPSON in opposition to motion
to reopen [12-1] by SOCIALIST PEOPLES, motion to extend time to 5/31/01
to answer complaint [1-1] [12-2] by SOCIALIST PEOPLES.; exhibits (A-J)
(aet) (Entered: 05/21/2001)

 

05/29/2001

16

REPLY by defendant SOCIALIST PEOPLES in further support of motion to
reopen [12-1] by SOCIALIST PEOPLES, motion to extend time to 5/31/01 to
answer complaint [1-1] [12-2] by SOCIALIST PEOPLES; affidavit (1) (aet)
Modified on 06/04/2001 (Entered: 06/04/2001)

 

06/15/2001

17

MOTION filed by defendant SOCIALIST PEOPLES to vacate default ;
attachment (1) (td) (Entered: 06/18/2001)

 

06/18/2001

MEMORANDUM OPINION by Judge Ricardo M. Urbina granting
defendant's motion to reopen and to extendtime to answer; dismissing without
prejudice the defendant's motion to vacate default judgment (N) (jwd)
(Entered: 06/18/2001) `

 

06/18/2001

 

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ORDER by Judge Ricardo M. Urbina : dismissing without prejudice motion to
vacate default judgment [17-1] by SOCIALIST PEOPLES, granting motion to

 

6/28/2017

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reopen [12-1] by SOCIALIST PEOPLES, granting motion to extend time to
7/23/01 to answer complaint [1-1] [12-2] by SOCIALIST PEOPLES; the
answer is extended to 7/23/01 for PEOPLES status hearing set for 11:30
9/27/01 (N) (jwd) (Entered: 06/18/2001)

 

07/09/2001

ORDER by Judge Ricardo M. Urbina : the status hearing set for 9/27/01 is
vacated and the status hearing has been reset for 1:30 10/15/01 (N) (adc)
(Entered: 07/09/2001)

 

07/23/2001

21

MOTION filed by defendant SOC. PEOPLE'S LIBYAN to dismiss complaint
[1-1] ; addendum (1-4) (aet) (Entered: 07/24/2001)

 

08/06/2001

22

ATTORNEY APPEARANCE for plaintiff SANDRA JEAN SIMPSON by
Eric Christopher Sorenson (td) Modified on 08/10/2001 (Entered: 08/10/2001)

 

08/06/2001

23

MEMORANDUM by plaintiff SANDRA JEAN SIMPSON in opposition to
motion to dismiss complaint [1-1] [21-1]; exhibits (4) (td) (Entered:
08/10/2001)

 

08/27/2001

25

MOTION filed by defendant SOC. PEOPLE'S LIBYAN to extend time to
9/7/01 within which to file a memorandum in reply to plaintiffs opposition to
defendant's motion to dismiss. (td) (Entered: 08/28/2001)

 

08/28/2001

24

ORDER by Judge Ricardo M. Urbina: extending time until 8/31/01 at 3:00
p.m. for defendant to reply to plaintiffs opposition to defendant's moiton to
dismiss (N) (jwd) (Entered: 08/28/2001)

 

09/17/2001

26

MOTION filed by defendant SOC. PEOPLE'S LIBYAN for leave to withdraw
Tarrant Hale Lomax as attorney for SOC. PEOPLE'S LIBYAN (td) (Entered:
09/19/2001)

 

09/17/2001

27

NOTICE by defendant SOC. PEOPLE'S LIBYAN regarding withdrawal of
counsel. (td) (Entered: 09/19/2001)

 

10/04/2001

28

MOTION filed by plaintiff SANDRA JEAN SIMPSON to vacate status
hearing. (td) (Entered: 10/09/2001)

 

10/10/2001

31

ATTORNEY APPEARANCE for defendant SOC. PEOPLE'S LIBYAN by
Arrnan Dabiri Abkenari (aet) (Entered: 10/15/2001)

 

10/10/2001

32

MOTION filed by defendant SOC. PEOPLE'S LIBYAN to continue status
conference scheduled for 10/15/01 to 11/6/01 at 2:00 p.m. (aet) (Entered:
10/15/2001)

 

10/11/2001

ORDER by Judge Ricardo M. Urbina : granting motion for leave to withdraw
Tarrant Hale Lomax as attorney for SOC. PEOPLE'S LIBYAN [26-1] by SOC.
PEOPLE'S LIBYAN; directing that the appearance of counsel for defendants
be, and the same hereby is stricken (N) (jwd) (Entered: 10/11/2001)

 

10/11/2001

ORDER by Judge Ricardo M. Urbina : granting motion to vacate status
hearing. [28-1] by SANDRA JEAN SIMPSON scheduling an initial status
hearing set for 2:00 11/6/01 (N) (jwd) (Entered: 10/11/2001)

 

10/31/2001

MEMORANDUM OPINION by Judge Ricardo M. Urbina denying motion of
defendant to dismiss (N) (jwd) (Entered: 11/01/2001)

 

 

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10/31/2001

§

ORDER by Judge Ricardo M. Urbina : denying motion to dismiss complaint
[1-1] [21-1] by SOC. PEOPLE'S LIBYAN (N) (jwd) (Entered: 11/01/2001)

 

1 1/06/2001

STATUS HEARING before Judge Ricardo M. Urbina: defendant will appeal
the order denying thedefendant's motion to dismiss; case stayed until resolution

of the defendant's appeal; no further dates scheduled at this time. Reporter:
William D. McAllister (jwd) (Entered: 11/06/2001)

 

1 1/06/2001

ORDER by Judge Ricardo M. Urbina: staying case until resolution of the
defendant's appeal; plaintiff may depose Robert Upp during the stay; if the
defendant fails to serve this court with a notice of appeal by 12/ 6/ 01 , this order
will be vacated and the court will shcedule a status hearing for the earlies
possible date (N) (jwd) (Entered: 11/06/2001)

 

1 1/06/2001

36

MEET AND CONFER STATEMENT/REPORT PURSUANT TO L.R. 16
filed by plaintiff SANDRA JEAN SIMPSON, defendant SOC. PEOPLE'S
LIBYAN . (td) (Entered: 11/07/2001)

 

11/16/2001

37

NOTICE OF APPEAL by defendant SOC. PEOPLE'S LIBYAN from order
[34-1] , entered on: 11/1/01. $105.00 fee paid; copy mailed to parties. (td)
(Entered: 11/20/2001)

 

11/16/2001

TRANSMITTED PRELIMINARY RECORD on appeal [3 7-1] by SOC.
PEOPLE'S LIBYAN to U.S. Court of Appeals (td) (Entered: 11/20/2001)

 

11/20/2001

38

LETTER pursuant to FRAP 10(b) regarding transcript (bm) (Entered:
1 1/26/2001)

 

11/29/2001

USCA # 01-7191 assigned for appeal [37-1] by SOC. PEOPLE'S LIBYAN (td)
(Entered: 12/06/2001)

 

06/04/2003

39

CERTIFIED COPY of judgment filed in USCA dated 4/22/03, on appeal
[37-1], affirming in part the judgment of USDC , reversing in part the
judgment of USDC vacating in part and remanding for further proceedings
USCA # 01-7191 (cp) (Entered: 06/05/2003)

 

06/17/2003

ORDER by Judge Ricardo M. Urbina: directing that ajoi_r_lt status report and a
proposed scheduling order be submitted byS/ 10/03; scheduling ali interin status
conference for 9/22/03 at 10:00 a.m.; interim status hearing set for 10:00
9/22/03 (N) (jwd) (Entered: 06/17/2003)

 

06/17/2003

Case Reopened (jwd) (Entered: 06/17/2003)

 

08/08/2003

41

JOINT MOTION by plaintiff SANDRA JEAN SIMPSON, defendant SOC.
PEOPLE'S LIBYAN to extend time to file status report to a later date , and to
continue the scheduling conference set for 8/10/03 to a later date (bj sp)
(Entered: 08/13/2003)

 

08/14/2003

ORDER by Judge Ricardo M. Urbina : granting joint motion to extend time to
file status report to a later date [41-1] by SOC. PEOPLE'S LIBYAN,
SANDRA JEAN SIMPSON; parties to submit a joint status report and
proposed scheduling order 30 days from plaintiffs filing of its amended
complaing; vacating interim status conference set for 9/22/03. (N) (jwd)
(Entered: 08/14/2003)

 

 

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10/31/2003

AMENDED COMPLAINT against THE SOCIALIST PEOPLE'S LIBYAN
ARAB JAMAHIRYA , filed by ALEXANDER J. SIMPSON, SANDRA
JEAN SIMPSON. (Attachments: # l)(td, ) (Entered: 11/03/2003)

 

12/01/2003

STATUS REPORT Status Reportper Local Rule 1 6.3 by ALEXANDER J.
SIMPSON, SANDRA JEAN SIMPSON. (Sorenson, Eric) (Entered:
12/01/2003)

 

12/31/2003

MOTION to Dismiss for Lack of Jurisdiction , personal jurisdiction and
failure to state a claim by THE SOCIALIST PEOPLE'S LIBYAN ARAB
JAMAHIRYA. (Attachments: # l Text of Proposed Order # 2 Appendix A# 3
Appendix B# 4 Appendix C# § Appendix D# 6 Appendix E# _7_ Appendix F# 8
Appendix G)(Dabiri Abkenari, Arman) (Entered: 12/31/2003)

 

01/12/2004

Memorandum in opposition to motion re § filed by ALEXANDER J.
SIMPSON, SANDRA JEAN SIMPSON. (Attachments: # l Affidavit
Affirmation of Service# 2 Text of Proposed Order)(Sorenson, Eric) (Entered:
01/12/2004)

 

01/19/2004

REPLY in support of motion re § to Dismiss filed by THE SOCIALIST
PEOPLE'S LIBYAN ARAB JAMAHIRYA. (Attachments: # 1 Cicippio-Puleo
v lran)(Dabiri Abkenari, Arman) (Entered: 01/19/2004)

 

06/10/2004

NOTICE by THE SOCIALIST PEOPLE'S LIBYAN ARAB JAMAHIRYA of
RecentAuthorily (Attachments: # l Exhibit Acree V Iraq (DC CIR))(Dabiri
Abkenari, Arman) (Entered: 06/10/2004)

 

06/16/2004

ENTERED IN ERROR.,...NOTICE by ALEXANDER J. SIMPSON,
SANDRA JEAN SIMPSON Reply to Defendam"s Notice of RecentAuthorily
(Sorenson, Eric) Modified on 6/17/2004 (rje, ). (Entered: 06/16/2004)

 

06/17/2004

NOTICE OF CORRECTED DOCKET ENTRY. Document No. 49 was
entered in error and counsel was instructed to refile said pleading as a
Response. (rje, ) (Entered: 06/17/2004)

 

06/17/2004

RESPONSE Planitijj{v' Response to Defendant's Notz`ce ofRecentAuthorily
filed by ALEXANDER J. SIMPSON, SANDRA JEAN SIMPSON. (Sorenson,
Eric) (Entered: 06/17/2004)

 

08/03/2004

ORDER directing the plaintiff to provide supporting evidence. Signed by
Judge Ricardo M. Urbina on 8/3/04. (Entered: 08/03/2004)

 

08/13/2004

MOTION for Extension of Time to File Jurisdictional Discovery by .#" .l-'j § ~
ALEXANDER J. SIMPSON, SANDRA JEAN SIMPSON. (Attachments: # l
# 2)(Sorenson, Eric) (Entered: 08/13/2004)

 

08/16/2004

MINUTE ORDER granting 2 Motion for Extension of Time to File. The
plaintiff shall have until November 1, 2004 to file supplemental materials, and
the defendant shall have 30 days to respond to the plaintiffs filing. A further
briefing schedule, if necessary, will be set thereafter. The defendant's pending
motion to dismiss is administratively closed pending receipt of the plaintiffs
supplemental briefing. Signed by Judge Ricardo M. Urbina on 8/16/04.
(Entered: 08/16/2004)

 

 

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08/18/2004

Set/Reset Deadlines:, Set/Reset Hearings: Supplemental Materials are due by
11/1/2004. (jwd) (Entered: 08/18/2004)

 

09/24/2004

MOTION for Order T0 lnclude Case Material in Reeord by ALEXANDER J.
SIMPSON, SANDRA JEAN SIMPSON. (Attachments: # 1 # 2 # 3)(Sorenson,
Eric) (Entered: 09/24/2004)

 

10/06/2004

MOTION for Extension of Time to Submit Jurisdictional Discovery by
ALEXANDER J. SIMPSON, SANDRA JEAN SIMPSON. (Attachments: # 1
Affirmation of Eric Sorenson)(Sorenson, Eric) (Entered: 10/06/2004)

 

10/06/2004

MINUTE ORDER denying 52 Motion for Order, granting § Motion for
Extension of Time. The court cannot put materials from chamber's file from
another case into the docket of this case. As to the extension of time, in the
interest of ascertaining subject-matter jurisdiction, the court grants the
plaintiffs' second motion for extension of time. Accordingly, the plaintiffs shall
have until 5pm on November 29, 2004 to submit jurisdictional discovery
materials to the court The plaintiffs shall insure that, in addition to filing these
materials electronically (if the plaintiffs use ECF), a courtesy copy of these
materials arrives at chambers by the new deadline. No further extensions will
be granted, and materials submitted after the November 29 deadline will not be
considered in ruling on the defendant's motion to dismiss. Signed by Judge
Ricardo M. Urbina on 10/6/04. (Entered: 10/06/2004)

 

10/07/2004

Letter from Eric C. Sorenson, Esquire to Mr. Panas, Judge Urbina's Law Clerk
regarding discovery materials in the Kilburn case. "fiat" (jwd) (Entered:
10/07/2004)

 

11/29/2004

RESPONSE to Discovery Request by ALEXANDER J. SIMPSON, SANDRA
JEAN SIMPSON.(Sorenson, Eric) (Entered: 11/29/2004)

 

12/02/2004

MINUTE ORDER. In a minute order dated 8/16/04, the court provided the
defendant 30 days to respond to the plaintiffs jurisdictional discovery
submissions ln light of the plaintiffs motions for extension of time, the new
deadline for the defendant to respond is 1/3/05. If the defendant wishes to
modify this deadline, it should submit a motion, ideally with the plaintiffs
consent Signed by Judge Ricardo M. Urbina on 12/02/04. (jp, ) (Entered:
12/02/2004)

 

12/03/2004

MOTION for Extension of Time to respond by THE SOCIALIST PEOPLE'S
LIBYAN ARAB JAMAHIRYA. (Attachments: # 1 Text of Proposed Order)
(Dabiri Abkenari, Arman) (Entered: 12/03/2004)

 

12/03/2004

MINUTE ORDER granting f Motion for Extension of Time. The defendant's
deadline to respond is moved to 2/4/05. Signed by Judge Ricardo M. Urbina on
12/3/04. (jp, ) (Entered: 12/03/2004)

 

12/03/2004

Set Deadlines/Hearings: Response to Dispositive Motions due by 2/4/2005.
(jwd) (Entered: 12/03/2004)

 

02/04/2005

MOTION to Dismiss by THE SOCIALIST PEOPLE'S LIBYAN ARAB
JAMAHIRYA. (Attachments: # 1 Text of Proposed Order)(Dabiri Abkenari,
Arman) (Entered: 02/04/2005)

 

 

 

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02/07/2005

MOTION to Strike Defendant'S Mol‘z`on to Dismiss by SANDRA JEAN
SIMPSON, ALEXANDER J. SIMPSON. (Attachrnents: # 1 # 2)(Sorenson,
Eric) (Entered: 02/07/2005)

 

02/08/2005

MINUTE ORDER denying Y Motion to Strike. The court will construe the
defendant's submission as a response to the plaintiffs' jurisdictional discovery
materials and will limit its analysis accordingly. However, to avoid
administrative confusion, the defendant is hereby instructed to withdraw its
recently filed "motion" and to refile that same document by no later than 2/9/05
as a "response." Other than relabeling its filing, the defendant is to make no
other revisions to the document Signed by Judge Ricardo M. Urbina on 2/8/05.
(jp, ) (Entered: 02/08/2005)

 

02/08/2005

RESPONSE to [] filed by THE SOCIALIST PEOPLE'S LIBYAN ARAB
JAMAHIRYA. (Attachments: # 1)(Dabiri Abkenari, Arman) (Entered:
02/08/2005)

 

02/09/2005

MINUTE ORDER withdrawing § Motion to Dismiss. Signed by Judge
Ricardo M. Urbina on 2/8/05. (jp, ) (Entered: 02/09/2005)

 

02/ 1 1/2005

MOTION for Leave to File Reply to Defendant's Response by SANDRA JEAN
SIMPSON, ALEXANDER J. SIMPSON. (Attachments: # 1)(Sorenson, Eric)
(Entered: 02/11/2005)

 

02/11/2005

ORDER granting § Motion for Leave to File. Reply due 2/22/05. Signed by
Judge Ricardo M. Urbina on 2/11/05. (jp, ) (Entered: 02/11/2005)

 

02/22/2005

REPLY to Defendant's Response to Jurisdz'ctional Discovery filed by
SANDRA JEAN SIMPSON, ALEXANDER J. SIMPSON. (Sorenson, Eric)
(Entered: 02/22/2005)

 

03/07/2005

ORDER denying the defendant's motion to dismiss § and granting the
plaintiffs leave to amend. Signed by Judge Ricardo M. Urbina on 3/7/05. (ip, )
(Entered: 03/07/2005)

 

03/07/2005

MEMORANDUM OPINION. Signed by Judge Ricardo M. Urbina on 3/7/05.
(jp, ) Additional attachment(s) added on 3/7/2005 (jp, ). (Entered: 03/07/2005)

 

03/21/2005

SECOND AMENDED COMPLAINT against THE SOCIALIST PEOPLE'S
LIBYAN ARAB JAMAHIRYAfiled by SANDRA JEAN SIMPSON,
ALEXANDER J. SIMPSON. (Attachments: # 1 Notice of Second Amended
Complaint# 2 Affirmation of Service)(nmw, ) (Entered: 03/21/2005)

 

04/01/2005

NOTICE OF APPEAL as to § Order by THE SOCIALIST PEOPLE'S
LIBYAN ARAB JAMAHIRYA. Filing fee $ 255, receipt number 133313. (jf, )
(Entered: 04/04/2005)

 

04/04/2005

Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re
§ Notice of Appeal (jf, ) (Entered: 04/04/2005)

 

04/05/2005

MOTION to Strike Defendant's Notice of Appeal by SANDRA JEAN
SIMPSON, ALEXANDER J. SIMPSON. (Attachments: # 1)(Sorenson, Eric)
(Entered: 04/05/2005)

 

04/07/2005

 

https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?63 804934752772-L_1_0-1

 

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6/28/2017

 

